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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

 JOHN DOE,                                    )
                                              )
      Plaintiff,                              )
                                              )
 v.                                           )          Case No. 7:21cv378
                                              )
 VIRGINIA POLYTECHNIC INSTITUTE               )
 AND STATE UNIVERSITY,                        )
                                              )
       Defendant.                             )

                                             ORDER

         Before the Court is a Motion for Extension filed by defendant Virginia Polytechnic

Institute and State University, requesting an extension of time within which it must file its

responsive pleadings to the Second Amended Complaint. Plaintiff consents to the motion.

         For the reasons set forth in defendant’s motion, for good cause shown, and in the

interest of justice, it is ORDERED that defendant’s motion is GRANTED. Accordingly,

defendant is ORDERED to file its responsive pleadings to the Second Amended Complaint on

or before September 27, 2023.

         The Clerk is directed to send a copy of this Order to counsel of record.

         It is SO ORDERED.


                                             Entered:



                                                     Hon. Michael F. Urbanski
                                                  Chief United States District Judge




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